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  11   PETER GRIMM
  12

  13                       UNITED STATES DISTRICT COURT
  14                      CENTRAL DISTRICT OF CALIFORINA
  15

  16   CHRISTOPHER PSAILA, an               Case No. 2:23-cv-07120-MWF (SKx)
       individual,
  17                                        NOTICE OF MOTION AND
                     Plaintiff,             MOTION TO COMPEL
  18                                        ARBITRATION AND STAY
            v.                              PROCEEDINGS BY
  19                                        DEFENDANTS AMERICAN
       ERIKA GIRARDI aka ERIKA              EXPRESS COMPANY AND
  20   JAYNE, AMERICAN EXPRESS              PETER GRIMM;
       COMPANY, ROBERT SAVAGE,              MEMORANDUM OF POINTS
  21   KENNETH HENDERSON,                   AND AUTHORITIES IN
       STEVE SCARINCE, PETER                SUPPORT THEREOF
  22   GRIMM, LAIA RIBATALLADA,
       MICHAEL MINDEN, and DOES             Date: January 8, 2024
  23   1 TO 10, Inclusive
                                            Time: 10:00 AM
  24                                        Courtroom: 5A
                     Defendants.            Judge: Hon. Michael W. Fitzgerald
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   1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on January 8, 2023, at 10:00 a.m., or as soon
   3   thereafter as the matter may be heard, in Courtroom 5A of the above-captioned
   4   Court located at 350 West First Street, Los Angeles, California 90012, the
   5   Honorable Michael W. Fitzgerald presiding, defendants American Express
   6   Company and Peter Grimm will, and hereby do, move this Court, pursuant to the
   7   Federal Arbitration Act and California law, for an order (1) compelling Plaintiff to
   8   resolve the instant matter through binding arbitration and (2) staying the litigation
   9   pending arbitration.   This motion is made on the grounds that Plaintiff and
  10   American Express entered into valid and enforceable agreements to resolve all
  11   claims through binding arbitration, and the Federal Arbitration Act and California
  12   law compel that the parties’ agreement be upheld, and that the instant litigation be
  13   stayed as to American Express Company and Peter Grimm pending arbitration.
  14         This Motion is brought following the conference of counsel pursuant to
  15   Local Rule 7-3, which took place on October 12, 2023.
  16         This Motion is based on the Memorandum of Points and Authorities below;
  17   the accompanying Declaration of Keith Herr and exhibits attached thereto; the
  18   accompanying Proposed Order; oral argument of counsel at the hearing; and any
  19   other matters the Court deems proper.
  20
       Dated: November 7, 2023           ORRICK, HERRINGTON & SUTCLIFFE LLP
  21

  22
                                                           /s/ Ben Au
  23                                                          Ben Au
  24                                               Attorneys for Defendants
                                          American Express Company and Peter Grimm
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   1                   MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.     INTRODUCTION
   3          Defendants American Express Company (“American Express”) and Peter
   4   Grimm (“Grimm”) (collectively, the “American Express Defendants”) seek an
   5   order compelling Plaintiff Christopher Psaila (“Psaila”) to arbitrate his claims
   6   against the American Express Defendants on an individual basis, as provided by the
   7   terms of the arbitration provisions contained within the merchant agreements that
   8   govern Psaila’s relationships with American Express, and by extension, Grimm.
   9   Psaila, both in his individual capacity and as the principal of his business
  10   MarcoSquared LLC (formerly Marco Marco LLC, “Marco Marco”), entered into
  11   valid arbitration agreements with American Express providing that “[a]ll Claims
  12   [against American Express] shall be resolved, upon your or our election, through
  13   arbitration” and “[a]ny and all disputes, claims or controversies . . . will be
  14   submitted for binding arbitration.” This language encompasses Psaila’s claims and
  15   requires their arbitration. The American Express Defendants also seek an order
  16   staying the prosecution of Psaila’s claims against them pending completion of the
  17   arbitration. 9 U.S.C. § 3.
  18          Psaila’s claims arise from allegations that the American Express Defendants
  19   acted wrongfully with respect to claims by a cardholder (Erika Jayne Girardi) that
  20   Psaila—through his business which, at all relevant times, accepted American
  21   Express Cards (the “Card”)—had fraudulently charged her account. For Psaila to
  22   be able to accept Card payments via American Express, he and his business had to
  23   agree to certain merchant agreements and corollary, required merchant operating
  24   guidelines. Specifically, throughout the relevant time period, Psaila accepted Card
  25   payments via two merchant payment processors.           Psaila executed merchant
  26   agreements with these payment processors, both of which contained binding
  27   arbitration clauses as a condition of accepting the Card as payment at his place of
  28   business.   As demonstrated below, both arbitration agreements are valid and
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   1   enforceable under the Federal Arbitration Act (“FAA”) and California law.
   2   Additionally, the agreements to arbitrate may be extended to an employee of a
   3   signatory to the agreements under relevant law, and thus Psaila’s arbitration
   4   agreements with American Express apply equally to Defendant Grimm.
   5   Notwithstanding his obligations under those agreements, Psaila has filed this
   6   lawsuit, asserting unsupportable claims against American Express and Grimm for
   7   allegedly aiding and abetting malicious prosecution and conspiracy to commit
   8   malicious prosecution.
   9   II.     FACTUAL BACKGROUND
  10           A.     Psaila’s Arbitration Agreements with American Express
  11           American Express is a financial services corporation specializing in payment
  12   cards. Grimm is a Senior Special Agent - Investigations in the Global Security
  13   department at American Express. Psaila is the founder and owner of self-described
  14   celebrity fashion company Marco Marco. Consistent with the facts alleged by
  15   Psaila, and for the purposes of this proceeding, Psaila is Marco Marco. In order to
  16   accept the Card as payment at his business, Psaila executed merchant agreements
  17   with two merchant payment processors, Priority Payment Systems, LLC
  18   (“Priority”) and Stripe, Inc. (“Stripe”).   Both Priority’s and Stripe’s merchant
  19   agreements with Psaila contain binding arbitration clauses as a condition of
  20   accepting the Card as payment. 1
  21           Psaila executed Marco Marco’s Merchant Processing Application and
  22   Agreement (the “Priority Agreement”) with Priority on February 17, 2012.
  23   Declaration of Keith Herr (“Herr Decl.”), ¶ 5, Ex. A. The Merchant Services
  24   Program Terms and Conditions (“Program Guide”), attached to the Priority
  25   Agreement, sets forth the terms and conditions pursuant to which Priority would
  26   provide merchant processing services to Plaintiff’s business. Psaila signed page 4
  27   1
        As an active merchant, Psaila, vis-à-vis Marco Marco, is subject to American
       Express’s updated Merchant Operating Guidelines, see Herr Decl. ¶¶ 14-15, Ex. F
  28   at 122–123, which require him to pay half the arbitration fees and the filing fee.
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   1   of the Priority Agreement, which contains the following language: “[t]his signature
   2   page also serves as a signature page to the . . . American Express Card Acceptance
   3   Agreement appearing in the Third Party Section of the Program Guide” and “[b]y
   4   signing below, I represent that I have read and am authorized to sign and submit
   5   this application for the above entity which agrees to be bound by the American
   6   Express Card Acceptance Agreement[.]” Ex. A at 4. 2 The American Express Card
   7   Acceptance Agreement, found in the Third-Party Section of the Program Guide,
   8   states in relevant part:
   9          Section 2.1(a). Scope: The Agreement governs your acceptance of
  10          American Express Cards in the United States . . .
  11          Section 2.7(a). Dispute Resolution: Arbitration Rights. All Claims
              shall be resolved, upon your or our election, through arbitration
  12
              pursuant to this Section 2.7 rather than by litigation.
  13
              Section 2.1(c). Definitions, defines “Claim” as: any claim (including
  14          initial claims, counterclaims, cross-claims, and third party claims),
              dispute, or controversy between you and us arising from or
  15
              relating to the Agreement or prior Card acceptance agreements,
  16          or the relationship resulting therefrom, whether based in contract,
              tort (including negligence, strict liability, fraud, or otherwise),
  17
              statutes, regulations, or any other theory, including any question
  18          relating to the existence, validity, performance, construction,
  19
              interpretation, enforcement, or termination of the Agreement or
              prior Card acceptance agreements or the relationship resulting
  20          therefrom.
  21          Section 2.7(d). Individually Named Parties Only. All parties to the
  22          arbitration must be individually named. There is no right or authority
              for any Claims to be arbitrated or litigated on a class-action or
  23          consolidated basis, on behalf of the general public or other parties, or
  24          joined or consolidated with claims of other parties, and you and we are
              specifically barred from doing so . . . The arbitrator’s authority to
  25          resolve Claims is limited to Claims between you and us alone, and
  26

  27   2
        Page 4 of the Priority Agreement further states that “[b]y accepting the American
       Express Card for the purchase of goods and/or services . . . the entity agrees to be
  28   bound by the Agreement.” Id. at 4.
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   1           the arbitrator’s authority to make awards is limited to awards to
   2           you and us alone.

   3   Herr Decl. ¶ 6, Ex. B (emphasis added). Page 5 of the Priority Agreement, above
   4   Psaila’s additional signature, further states that “[b]y its signature below, Client
   5   acknowledges that it has received . . . the complete Program Guide [version
   6   PPS1409(ia)] consisting of 35 pages . . . [and] further acknowledges reading and
   7   agreeing to all terms in the Program Guide, which shall be incorporated into
   8   Client’s Agreement.” Ex. A at 5 (emphasis added).
   9           Psaila also agreed to arbitrate all claims against American Express by
  10   accepting American Express as payment through payment processor Stripe. As a
  11   Shopify-connected account 3, Plaintiff electronically consented to the Stripe
  12   Services Agreement and Stripe Connect Platform Agreement via Shopify
  13   Payments’ Terms of Service on March 10, 2014, and again on April 4, 2016. Herr
  14   Decl. ¶ 7, Exs. C and D. The Stripe Connect Platform Agreement states:
  15           You agree to the terms and conditions of this Connect Platform
  16           Agreement and to the Stripe Terms of Service (“Stripe ToS”). The
               Stripe ToS may also incorporate separate agreements with financial
  17
               services providers. . . . Please read them carefully, as both your use of
  18           the Stripe Service and your treatment of Connected Accounts are
               subject to your acceptance of these terms and conditions.
  19

  20   Ex. C at 1.
  21           The operative Stripe Terms of Service (the “Stripe Services Agreement”)
  22   from 2016 reiterates that a merchant “may not access or use any Services unless
  23   [they] agree to abide by all of the terms and conditions in this Agreement.” Ex. D
  24   at 1.    The Stripe Services Agreement further contains an American Express
  25   Addendum with an express instruction that “[b]y using [Stripe’s] Payment Services,
  26   you consent to the following Payment Addenda (including those that separately
  27
       3
        Psaila connected his merchant account to Stripe via Shopify, an e-commerce
  28   platform.
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   1   bind you with Financial Services Providers) incorporated into this Agreement[.]”
   2   Id. at 11. Section 7 of the American Express Addendum provides, in relevant part:
   3         Any and all disputes, claims or controversies arising out of or
   4         related to this American Express Addendum will be submitted for
             binding arbitration. Unless you and [American Express] agree
   5
             otherwise, any arbitration shall take place in the State of New York,
   6         New York County, and will be administered by, and pursuant to the
             rules of, the American Arbitration Association (“AAA”).
   7

   8         Disputes will be arbitrated on an individual basis. . . . The
             arbitrator’s authority to resolve disputes and to make awards is limited
   9
             to disputes between you and [American Express] alone. Furthermore,
  10         disputes brought by either you or [American Express] against the other
             may not be joined or consolidated in arbitration with disputes brought
  11
             by or against any third party, unless agreed to in writing by both
  12         parties.
  13   Id. at 28 (emphasis added).
  14         B.     Psaila’s Allegations
  15         Despite having agreed to binding arbitration, Psaila filed the instant action
  16   pleading only arbitrable claims. In the Complaint, Psaila alleges that American
  17   Express and Grimm conspired with Erika Girardi to aid and abet a malicious
  18   prosecution action against him. Compl. ¶¶ 137–169. The crux of Psaila’s claims
  19   against American Express and Grimm is that American Express refunded Ms.
  20   Girardi $787,117.88 for transactions she claimed were fraudulently charged to her
  21   Card by Marco Marco between January 26, 2015 and November 30, 2016—
  22   transactions that the federal government was actively investigating as potential
  23   fraud at the time. Id. ¶¶ 5, 70. Psaila further alleges (without factual support) that
  24   by issuing Girardi’s refund (while a federal government’s investigation was
  25   pending) American Express acted “inconsistent with and contrary to” its own
  26   policies and practices for “investigating, evaluating and resolving claims of
  27   unauthorized transactions.” Id. ¶ 144.
  28
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   1   III.     ARGUMENT
   2            A.    The FAA Mandates That Psaila Arbitrate His Claims Against The
                      American Express Defendants On An Individual Basis
   3

   4            The FAA governs here.     The FAA applies to all written agreements to
   5   arbitrate disputes evidencing a transaction “involving interstate commerce.”
   6   Southland Corp. v Keating, 465 U.S. 1 (1984). Neither the parties’ agreement nor
   7   underlying transaction need be “in” interstate commerce; only the economic
   8   activity of the parties involved has to have some nexus to interstate commerce.
   9   Citizens Bank v. Alafabco, Inc., 539 U.S. 52 (2003). Here, there is no question that
  10   Psaila’s merchant agreements with Priority and Stripe have a nexus to interstate
  11   commerce. 4 Indeed, Priority’s Program Guide directly states: “Section 2.7 is made
  12   pursuant to a transaction involving interstate commerce and is governed by the
  13   Federal Arbitration Act[.] Ex. B at 31 (emphasis added).
  14            The FAA reflects a “liberal federal policy favoring arbitration.”      AT&T
  15   Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011). Concepcion held that a
  16   court should enforce arbitration agreements according to their terms and that the
  17   FAA preempts state law regarding barriers to enforcement, such as the
  18   unconscionability of class arbitration waivers in consumer contracts. Id. at 340,
  19   344. “The overarching purpose of the FAA . . . is to ensure the enforcement of
  20   arbitration agreements according to their terms so as to facilitate streamlined
  21   proceedings.” Id. at 344. The FAA provides that a party may seek an order
  22
       4
         To the extent Psaila attempts to argue that he never signed a merchant agreement
  23   with Priority or Stripe in his personal capacity and that he only signed on behalf of
       his business Marco Marco, and therefore is not personally bound by the
  24   agreements, such an argument will be unavailing. “[C]ourt[s] may uphold
       arbitration agreements against parties where the interests of such parties are directly
  25   related to, if not congruent with, those of a signatory.” Creative Telecomms., Inc. v.
       Breeden, 120 F. Supp. 2d 1225, 1241 (D. Haw. 1999) (“Defendant, as an agent,
  26   employee, and representative of ComputerTime, can be compelled to arbitrate any
       disputes arising under or relating to the Agreement he signed as President of
  27   ComputerTime.”). Moreover, Psaila’s claims directly relate to consequences of his
       business relationships with American Express, and the transactions at issue are
  28   subject to the terms of the agreements that contain the binding arbitration clauses.
                                                 -7-
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   1   compelling arbitration. See 9 U.S.C. §§ 1, 4. Section 4 mandates that courts shall
   2   direct the parties to proceed to arbitration on issues as to which an arbitration
   3   agreement has been signed. Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218
   4   (1985).
   5          The Court should compel Psaila to arbitrate his claims against the American
   6   Express Defendants on an individual basis, as the terms of his merchant agreements
   7   require. 5   As was the case in Concepcion, the arbitration agreements between
   8   American Express and Psaila contain a waiver of class actions, as well as an
   9   additional waiver of the ability to bring a claim joined with the claims of other
  10   parties, and a limitation on the arbitrator’s authority to make awards between
  11   American Express and Psaila alone. See Exs. B and D. Thus, the arbitration
  12   provision prohibits Psaila from bringing his action against both the American
  13   Express Defendants and the co-defendants in a simultaneous action.               These
  14   provisions must also be construed under the principals of contract interpretation,
  15   just as the class action waiver principle was construed and enforced in Concepcion.
  16
              B.     California Law Mandates That Psaila Arbitrate His Claims
                     Against The American Express Defendants On An Individual
  17                 Basis
  18          While the FAA governs the enforceability of arbitration agreements
  19   according to its terms, state law governs the determination of whether a valid
  20   agreement to arbitrate exists, and whether the arbitration agreement encompasses
  21   the claims at issue. See First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944
  22   (1995); Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir.
  23   2000). “In determining whether parties have agreed to arbitrate a dispute, [courts]
  24

  25   5
        Priority Program Guide’s Agreement for American Express Card Acceptance,
       Section 2.7(d) states: “All parties to the arbitration must be individually named.
  26   There is no right or authority for any Claims to be . . . joined or consolidated with
       claims of other parties.” Ex. B at 30. Likewise, Stripe Services Agreement,
  27   Section 7(b) states: “Disputes will be arbitrated on an individual basis. . . . The
       arbitrator’s authority to resolve disputes and to make awards is limited to disputes
  28   between you and [American Express] alone.” Ex. D at 28.
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   1   apply general state-law principles of contract interpretation, while giving due regard
   2   to the federal policy in favor of arbitration by resolving ambiguities as to the scope
   3   of arbitration in favor of arbitration.” Nezri v. PayPal, Inc., 606 F. Supp. 3d 985,
   4   991 (C.D. Cal. 2022) (internal citation omitted); Coast Plaza Drs. Hosp. v. Blue
   5   Cross of Cal., 83 Cal. App. 4th 677, 686 (2000) (“any doubts regarding the
   6   arbitrability of a dispute are resolved in favor of arbitration”). The “party resisting
   7   arbitration” “bears the burden of proving that the claims at issue are unsuitable for
   8   arbitration.” Green Tree Fin. Corp. Ala. v. Randolph, 531 U.S. 79, 91 (2000).
   9         Here, valid arbitration agreements exist under California law and encompass
  10   the claims at issue.
  11                1.      The Arbitration Agreements Are Valid Contracts
  12         Under California law, a contract “need not expressly provide for arbitration,
  13   but may do so in a secondary document which is incorporated by reference . . .”
  14   Chan v. Drexel Burnham Lambert, Inc., 178 Cal. App. 3d 632, 639 (1986); see also
  15   Slaught v. Bencomo Roofing Co., 25 Cal. App. 4th 744, 748 (1994) (“Under
  16   California law, parties may validly incorporate by reference into their contract the
  17   terms of another document.”). A “secondary document becomes part of a contract
  18   as though recited verbatim when it is incorporated into the contract by reference
  19   provided that the terms of the incorporated document are readily available to the
  20   other party.” King v. Larsen Realty, Inc., 121 Cal. App. 3d 349, 357 (1981).
  21   Moreover, a document need not specify it incorporates a document containing an
  22   arbitration clause in order to make the incorporation valid—all that is required is
  23   the incorporation be clear and unequivocal and the incorporated document be easily
  24   located and accessible to the plaintiff. Wolschlager v. Fid. Nat’l Title Ins. Co., 111
  25   Cal. App. 4th 784, 791 (2003); see also Lucas v. Hertz Corp., 875 F. Supp. 2d 991,
  26   999 (N.D. Cal. 2012) (holding a document incorporated by reference where the
  27   terms of the document were easily available to plaintiff); Koffler Elec. Mech.
  28   Apparatus Repair, Inc. v. Wartsila N. Am., Inc., 2011 WL 1086035, at *4 (N.D.
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   1   Cal. Mar. 24, 2011) (holding where the General Terms and Conditions were
   2   explicitly mentioned in the agreement they were effectively incorporated and the
   3   fact plaintiff “was not aware of the arbitration clause does not prevent its
   4   enforceability so long as the General Terms and Conditions were easily available to
   5   it.”).
   6            Here, both merchant agreements clearly and unequivocally identify Psaila’s
   7   obligation to arbitrate any and all claims against American Express as a condition
   8   of accepting Card payment at Psaila’s place of business. The Priority Agreement
   9   explicitly states, directly above Psaila’s signature on page 4, that “[b]y accepting
  10   the American Express Card for the purchase of goods and/or services . . . the entity
  11   agrees to be bound by the Agreement.” Ex. A at 4. It further states that Psaila’s
  12   application signature “also serves as a signature [] to … the American Express Card
  13   Acceptance Agreement appearing in the Third Party Section of the Program
  14   Guide,” Ex. A at 4, and that the signatory “acknowledges that it has received . . . the
  15   complete Program Guide . . . [and] further acknowledges reading and agreeing to
  16   all terms in the Program Guide, id. at 5. The arbitration clause found in the
  17   American Express Card Acceptance Agreement, see Ex. B at 30–31, is thus
  18   enforceable under California law because Priority’s Agreement “specifically
  19   identifies the document incorporated as the policy, lists the form which is
  20   contemplated and tells the recipient where they can find the policy.” Wolschlager,
  21   111 Cal. App. 4th at 791.
  22            Likewise, the arbitration provision in the American Express Addendum to
  23   the Stripe Services Agreement is binding on Plaintiff under California law. The
  24   American Express Addendum is contained within the Stripe Services Agreement,
  25   and Psaila was required to “agree to the terms and conditions of . . . the Stripe
  26   Terms of Service” prior to using Stripe’s services. Ex. C at 1. The Stripe Connect
  27   Platform Agreement further instructed Psaila to “read [the Stripe Terms of Service]
  28   carefully, as both [his] use of the Stripe Service and [his] treatment of Connected
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   1   Accounts are subject to [his] acceptance of these terms and conditions.” Id. The
   2   Stripe Connect Platform Agreement therefore “specifically identifies” the Stripe
   3   Services Agreement—and the “readily available” American Express Addendum
   4   contained therein—and properly incorporates the arbitration provision by reference.
   5   See King, 121 Cal. App. 3d at 357.
   6                2.    The Arbitration Agreements Encompass The Claims At
   7                      Issue
   8         To determine what claims are subject to arbitration, courts look to the
   9   contract in light of the presumption of arbitrability. EEOC v. Waffle House, Inc.,
  10   534 U.S. 279, 289 (2002) (“it is the language of the contract that defines the scope
  11   of disputes subject to arbitration”); United Steelworkers of Am. v. Warrior & Gulf
  12   Navigation Co., 363 U.S. 574, 582-83 (1960) (courts defer to arbitration and
  13   “[d]oubts should be resolved in favor of coverage”). This is particularly true where
  14   the contractual arbitration clause at issue is broad. Bono v. David, 147 Cal. App.
  15   4th 1055, 1067 (2007) (noting that whether an arbitration clause covers any given
  16   dispute depends on whether the clause is “broad” or “narrow”).
  17         Both the Priority and Stripe Services Agreements include the broadest
  18   possible language and apply to each of Psaila’s claims against American Express
  19   and Grimm, see infra III.C. There can be no dispute that Psaila’s claims “arise out
  20   of or relate” to his merchant relationships with American Express and are therefore
  21   covered by the arbitration agreements. Indeed, Psaila agreed to arbitrate “[a]ll
  22   Claims,” see Ex. B at 30 (emphasis added), as well as “[a]ny and all disputes,
  23   claims, or controversies arising out of or related to this American Express
  24   Addendum,” see Ex. D at 28 (emphasis added). There are no exclusions listed in
  25   either Agreement. Both agreements contain the broadest possible language. See
  26   Dream Theater, Inc. v. Dream Theater, 124 Cal. App. 4th 547, 553 n.1 (2004) (“An
  27   arbitration clause that covers any claim arising out of or relating to the contract or
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   1   the breach thereof is very broad.”) (internal citation omitted); Bono, 147 Cal. App.
   2   4th at 1067 (“A ‘broad’ clause includes those using language such as ‘any claim
   3   arising from or related to this agreement.’”); Simula, Inc. v. Autoliv, Inc., 175 F.3d
   4   716, 720-21 (9th Cir. 1999) (arbitration clause covering claims “arising in
   5   connection with” must be broadly and liberally interpreted in favor of coverage);
   6   eFund Cap. Partners v. Pless, 150 Cal. App. 4th 1311, 1322 (2007) (describing
   7   “any problem or dispute” contractual language as “both clear and plain” and “very
   8   broad”).
   9          Accordingly, all of Psaila’s claims against American Express and Grimm
  10   (see infra III.C.) are subject to arbitration.
  11          C.     The Arbitration Agreements Extend To Defendant Grimm
  12          Under the FAA, “traditional state law principles” may be used by non-
  13   signatories to an arbitration agreement to enforce the arbitration agreement. Arthur
  14   Andersen, LLP v. Carlisle, 556 U.S. 624, 631 (2009). The Ninth Circuit has
  15   recognized that in California, “[a] nonsignatory to an agreement to arbitrate may
  16   . . . invoke arbitration against a party, if a preexisting confidential relationship, such
  17   as an agency relationship between the nonsignatory and one of the parties to the
  18   arbitration agreement, makes it equitable to impose the duty to arbitrate.” Murphy
  19   v. DirecTV, Inc., 724 F.3d 1218, 1232 (9th Cir. 2013). Specifically, “agents of a
  20   signatory can compel the other signatory to arbitrate so long as (1) the wrongful
  21   acts of the agents for which they are sued relate to their behavior as agents or in
  22   their capacities as agents and (2) the claims against the agents arise out of or relate
  23   to the contract containing the arbitration clause (consistent with the language of the
  24   arbitration clause).” Amisil Holdings Ltd. v. Clarium Cap. Mgmt., 622 F. Supp. 2d
  25   825, 832 (N.D. Cal. 2007) (citing Letizia v. Prudential Bache Sec., Inc., 802 F.2d
  26   1185 (9th Cir. 1986) and Britton v. Co-op Banking Grp., 4 F.3d 742 (9th Cir.
  27   1993)); see also Smith v. Mass. Mut. Life Ins. Co., 2010 WL 11545610, at *7, *10
  28   (C.D. Cal. May 25, 2010) (citing Amisil Holdings, 622 F. Supp. 2d at 832, 835,
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   1   839). These criteria are met here. As Psaila’s complaint demonstrates, Grimm is
   2   being sued for actions he took in his capacity as an employee of American Express.
   3   See, e.g., Compl. ¶ 5 (“Erika Girardi and Tom Girardi not only enlisted the Secret
   4   Service, but also . . . AMEX employee Peter Grimm to execute their scheme to
   5   maliciously prosecute Chris Psaila”); id. (“Without any fair or reasonable
   6   investigation by . . . Peter Grimm, AMEX . . . refunded Erika Girardi and Tom
   7   Girardi $787,117.88[.]”). Furthermore, the claims asserted against Grimm clearly
   8   relate to the specific terms of the Priority and Stripe Agreements, which cover “all
   9   Claims” and “any and all disputes, claims, or controversies,” with American
  10   Express respectively.
  11           D.    The Court Should Stay This Action As To The American Express
  12                 Defendants Pending Arbitration
  13           The FAA provides that a court, upon determination that an action before it is
  14   subject to an enforceable arbitration provision, “shall . . . stay the trial of the action
  15   until such arbitration has been had in accordance with the terms of the agreement.”
  16   9 U.S.C. § 3. California law is in conformance. See Cal. Civ. Proc. Code § 1281.4
  17   (“If a court of competent jurisdiction. . . has ordered arbitration of a controversy . . .
  18   the court in which such action or proceeding is pending shall, upon motion of a
  19   party to such action or proceeding, stay the action or proceeding until an arbitration
  20   is had . . . .”). Accordingly, American Express requests that this Court stay the
  21   action as to the American Express Defendants pending completion of arbitration
  22   between the parties.
  23   IV.     CONCLUSION
  24           For the foregoing reasons, this Court should grant the American Express
  25   Defendants’ motion to compel Psaila to arbitrate his claims against them on an
  26   individual basis, and stay this case as to the American Express Defendants pending
  27   the completion of those proceedings.
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   1   Dated: November 7, 2023          ORRICK, HERRINGTON & SUTCLIFFE LLP
   2

   3                                                     /s/ Ben Au
                                                            Ben Au
   4
                                                  Attorneys for Defendants
   5                                     American Express Company and Peter Grimm

   6

   7
                     L.R. 11-6.2 – CERTIFICATE OF COMPLIANCE
   8         The undersigned, counsel of record for Defendants American Express
   9   Company and Peter Grimm, certifies that this brief contains 4,588 words, which
  10   complies with the word limit of L.R. 11-6.1
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